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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


LOREN OWENS,
       Plaintiff,                          Case No. 1:24-CV-00547
                                           Hon. Jane M. Beckering
                                           Magistrate Judge Phillip J. Green
v


Adroit Health Group et al.,

Joshua S. Goodrich, J.D., LL.M. (P83197)   Janet Ramsey (P63285)
LIGHTHOUSE LITIGATION PLLC                 WARNER NORCROSS + JUDD LLP
5208 W. Saginaw Hwy 81142                  150 Ottawa Ave., NW, Ste. 1500
Lansing, Michigan 48908                    Grand Rapids, Michigan 49503
269.312.7435                               616.752.2736
jsgoodrich@lighthouse-litigation.com       jramsey@wnj.com
Attorneys for Plaintiff                    Jeffrey B. Pertnoy (PHV)
                                           AKERMAN
                                           Three Brickell City Centre
                                           98 Southeast Seventh Street
                                           Miami, Florida 33131
                                           305.982.5524
                                           Jeffrey.pertnoy@akerman.com
                                           Thomas B. Fullerton
                                           Akerman LLP
                                           71 S. Wacker Dr., Ste. 4600
                                           Chicago, IL 60606
                                           312.634.5726
                                           Thomas.Fullerton@akerman.com
                                           Attorneys for Defendants Tyler Long and
                                           Wesley Cunha
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                                                     Jamey R. Campellone
                                                     GREENSPOON MARDER LLP
                                                     200 East Broward Blvd., Suite 1800
                                                     Fort Lauderdale, FL 33301
                                                     Tel: 954.527.6296
                                                     Email: jamey.campellone@gmlaw.com
                                                     Email: gabby.mangar@gmlaw.com
                                                     Attorneys for Defendant, Adroit Health
                                                     Group, LLC


                              UNOPPOSED MOTION
                      TO ADJOURN AND RESCHEDULE HEARING




NOW COMES Plaintiff, by and through undersigned counsel, and respectfully requests that this

Honorable Court adjourn and reschedule the hearing on the Motion to Expedite (#26) currently

scheduled for September 16, 2024, at 1:30 PM (#36). In support of this motion, Plaintiff states the

following:

Scheduled Hearing: The hearing on Plaintiff’s Motion to Expedite is presently scheduled for

September 16, 2024, at 1:30 PM before Magistrate Judge Phillip J. Green in the 499 Federal

Building, Grand Rapids, Michigan.

Conflicting Obligation:

Counsel for the Plaintiff is scheduled to mediate Pro Se Prisoner Civil Rights Litigation Early

Mediation case on September 16, 2024, from 1:15 PM to 4:30 PM Pro Bono. For this honorable

court. These mediation cases require coordination with the Michigan Department of Corrections

and the Michigan Attorney General's Office. This order was issued by Magistrate Judge Phillip J.

Green on August 13, 2024.
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Proposed Alternative Date: Counsel for Plaintiff has conferred with the chambers of Magistrate

Judge Phillip J. Green and opposing counsel. All parties and counsel have confirmed their

availability for Thursday, September 26, 2024, at 10:00 AM.

No Prejudice: The requested adjournment will not prejudice either party and is sought in good

faith to accommodate the mediation and ensure full participation in the hearing by all counsel.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court adjourn and reschedule

the hearing on Plaintiff’s Motion to Expedite (#26) to September 26, 2024, at 10:00 AM or another

date convenient for the Court.

Respectfully submitted




Dated: September 12, 2024,                   Respectfully submitted,
                                             By: /s/ Joshua S. Goodrich, J.D., LL.M.
                                             Lighthouse Litigation PLLC
                                             5208 W. Saginaw Hwy., 81142
                                             Lansing, MI 48917
                                             Email: jsgoodrich@lighthouse-litigation.com
                                             269.312.7435

                                             Attorneys for Plaintiff, Loren J. Owens




                               CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on the 12st day of September 2024, a copy of the foregoing
UNOPPOSED MOTION TO ADJOURN AND RESCHEDULE HEARING was filed with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to all
attorneys of record.

                                             By:    /s/ Joshua S. Goodrich, J.D., LL.M.______
                                                    JOSHUA S. GOODRICH, J.D., LL.M.
